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   English definition of “funds”


   funds
   plural noun              ɇIȒQG]




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    › money , often money for a specific purpose :


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       I’m short of/ low on funds at the moment .




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       The Brownies sold cookies to raise funds for their troop .
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   (Definition of funds plural noun from the Cambridge Academic Content Dictionary © Cambridge University Press)
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   Focus on the pronunciation of funds
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    fund noun
    fund verb


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    mutual fund noun
    pension fund noun
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                                                grand prix
                                                one of a series of important international races
                                                for very fast and powerful cars
                                                Word of the Day 




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